      Case: 21-16645, 06/30/2022, ID: 12484474, DktEntry: 87, Page 1 of 2

                UNITED STATES COURT OF APPEALS
                                                                 FILED
                        FOR THE NINTH CIRCUIT
                                                                 JUN 30 2022
                                                                MOLLY C. DWYER, CLERK
                                                                 U.S. COURT OF APPEALS




PAUL A. ISAACSON, M.D., on behalf           No. 21-16645
of himself and his patients; et al.,
                                            D.C. No. 2:21-cv-01417-DLR
            Plaintiffs - Appellees,
                                            U.S. District Court for Arizona,
 v.                                         Phoenix

MARK BRNOVICH, Attorney General,            MANDATE
Attorney General of Arizona, in his
official capacity; et al.,

            Defendants - Appellants,

and

MICHAEL B. WHITING, County
Attorney for Apache County, in his
official capacity; et al.,

            Defendants.




PAUL A. ISAACSON, M.D., on behalf           No. 21-16711
of himself and his patients; et al.,
                                            D.C. No. 2:21-cv-01417-DLR
            Plaintiffs - Appellants,
                                            U.S. District Court for Arizona,
 v.                                         Phoenix

MARK BRNOVICH, Attorney General,
Attorney General of Arizona, in his
official capacity; et al.,
        Case: 21-16645, 06/30/2022, ID: 12484474, DktEntry: 87, Page 2 of 2




              Defendants - Appellees,

 and

 MICHAEL B. WHITING, County
 Attorney for Apache County, in his
 official capacity; et al.,

              Defendants.


       The judgment of this Court, entered June 30, 2022, takes effect this date.

       This constitutes the formal mandate of this Court issued pursuant to Rule

41(a) of the Federal Rules of Appellate Procedure.

                                               FOR THE COURT:

                                               MOLLY C. DWYER
                                               CLERK OF COURT

                                               By: Jessica Flores
                                               Deputy Clerk
                                               Ninth Circuit Rule 27-7
